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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Artashes Melikyan                      )
                           Plaintiff,  )         Judge Pallmeyer
                                       )
        v.                             )
                                       )
Portfolio Recovery Associates, LLC and )
Freedman Anselmo Lindberg, LLC,        )
                                       )
                           Defendants. )         Jury Demanded



                          Notice of Voluntary Dismissal

       The parties have entered into a settlement agreement and release.

       Plaintiff voluntarily dismisses the case with prejudice.




                                                 /s/ Tony Kim
                                                 One of Plaintiff’s Attorneys
Dated: March 22, 2011

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